                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                WINCHESTER DIVISION

 LINDA S. JEFFERY,                             )
                                               )
         Plaintiff,                            )
                                               )
 v.                                            )       NO. 4:23-cv-00022-TRM-CHS
                                               )       JURY DEMAND
 WAL-MART STORES EAST, LP,                     )
 WAL-MART REAL ESTATE                          )
 BUSINESS TRUST, and WALMART,                  )
 INC.,                                         )
                                               )
         Defendants.                           )

         PARTIES’ DISCOVERY PLAN STATEMENT PURSUANT TO RULE 26(f)

         Pursuant to Rule 26(f) of the Federal Rules of Civil Procedure, counsel for the respective

 parties conferred by telephone conference on August 11, 2023 and agree as follows:

         A.     The parties will serve their respective Rule 26(a)(1) disclosures by September 15,

 2023.

         B.     Discovery shall be conducted as provided in the Court’s Scheduling Order. At

 this juncture, the parties do not anticipate that any changes in the limitations on discovery

 imposed under Rule 26 of the Federal Rules of Civil Procedure or the Local Rules of this Court

 will need to be made. Should changes be required, the party seeking the change will file a

 Motion with the Court seeking that change.

         C.     The parties do not anticipate any discovery of Electronically Stored Information

 (“ESI”). If discovery should reveal that ESI of either party is desired or necessary, counsel for

 the parties shall produce the electronic discovery as set forth in this Honorable Court’s Order.



                                               Page -1-


Case 4:23-cv-00022-TRM-CHS Document 14 Filed 08/15/23 Page 1 of 3 PageID #: 35
          D.     Discovery shall be conducted as provided in the Honorable Court’s Scheduling

 Order.

          E.     At this time, the parties do not request any other Orders under Rule 26(c) or Rule

 16(b) and (c). The parties will confer in an effort to agree upon the terms and conditions of any

 necessary protective Orders and in accordance with this Honorable Court’s Memorandum and

 Order regarding sealing confidential information [DE #6].

          F.     The prospect for settlement is unknown at this time. This is a premises liability

 case. Plaintiff alleges that on September 8, 2022 that plaintiff Linda Jeffrey tripped and fell at

 Wal-Mart store #314 located at 1224 Huntsville Hwy., Fayetteville, Tennessee 37334. Wal-Mart

 denies liability as set forth in its answer filed on July 19, 2023 [DE #7]. This case will be ready

 for trial by February 4, 2025. The parties do not consent to the Magistrate Judge at this time.

 The parties anticipate that the jury trial in this matter will last two to three days.

 RESPECTFULLY SUBMITTED:

 s/ Greg Callaway                                        _____________________________
 Greg Callaway, No. 18575                                Cameron Kuhlman, No.
 HOWELL & FISHER, PLLC                                   Lauren M. Turner, No. 028283
 3310 West End Avenue, Suite 550                         Wettermark & Keith, LLC
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                                                 Page -2-


Case 4:23-cv-00022-TRM-CHS Document 14 Filed 08/15/23 Page 2 of 3 PageID #: 36
                                                        CERTIFICATE OF SERVICE

        I certify that a copy of the foregoing was served via ECF upon Cameron Kuhlman and
 Lauren M. Turner, Wettermark & Keith, LLC, 1232 Premier Drive, Suite 325, Chattanooga, TN
 37421; on this 11th day of August, 2023.


                                                                           s/ Greg Callaway
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                                                                Page -3-


Case 4:23-cv-00022-TRM-CHS Document 14 Filed 08/15/23 Page 3 of 3 PageID #: 37
